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                                                                   ORIGINAL
                       UNITED STATES DISTRICT COURT FILED IN~ cFRKrS O
                   FOR THE NORTHERN DISTRICT OF GEORGIA A ~4nt~~
                               ATLANTA DIVISION
                                                                       DEC IYOU
                                                                                   Clerk
EVANGELINA FORSBERG                                                          - Deputy
                                                                                      Clerk



      Plaintiff,
                                                           CIVIL ACTION
                                                           FILE NO.

JAMES PEFANIS, AME FINANCIAL
CORPORATION and GEORGIA MUTUAL
                                                      1 07 - CV- 3116
                                                                                         n
MORTGAGE CORPORATION
                                                                                     ~        A

                                                           JURY TRIAL
                                                           DEMANDED
      Defendants .


                                    COMPLAINT

      Plaintiff Evangelina Forsberg ("Forsberg"), for her Complaint against

Defendants, shows the following :

                                    OVERVIEW

                                          1.

      This is an action brought by Forsberg against her former employers, AME

Financial Corporation and Georgia Mutual Mortgage Corporation, and their

respective owner, President and CEO James Pefanis ("Pefanis"), for violations of

Title VII of the Civil Rights Act of 1964 and Georgia law . As set forth in detail

below, Forsberg, at the hands of Pefanis, was subjected to a litany of egregious
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sexual harassment and other torts that culminated with Pefanis restraining

Forsberg, grabbing and clutching Forsberg's genitalia and inviting other senior

officers of the employer to do the same .

                          JURISDICTION AND VENUE

                                            2.

      This is a civil action over which original, federal question jurisdiction is

vested in this Court by virtue of 28 U .S .C. § 1331 and The Civil Rights Act of

1964, 42 U .S .C. § 2000e et sew, . ("Title VII") and supplemental jurisdiction is

vested in this Court under 28 U .S.C. § 1367 .

                                            3.

      Venue is appropriate in this Court under 28 U .S.C . § 1391 as this action is

brought in a judicial district in which the defendants reside or may be found at the

time the action is commenced and in which the discriminatory, unlawfully

harassing and tortious acts described below occurred . Further, Plaintiff resides and

was employed by Defendants within the Northern District of Georgia.

                   PARTIES, JURISDICTION AND VENUE

                                            4.

      Forsberg is an individual currently residing at 4340 Maple Valley Drive,

Gumming, Georgia, 30040 .
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                                          5.

      Pefanis is an individual currently residing at 6835 Matt Highway, Gumming,

Georgia, 30028 . He is currently an owner and the Chief Executive Officer of

Defendant AME Financial Corp ("AME") and Georgia Mutual Mortgage

Corporation ("Georgia Mutual") . Pefanis can be served with process at either his

residential address, or at the principle place of business of AME .

                                          6.

      AME purports to be a for-profit limited liability corporation incorporated in

the State of Georgia . AME purports to be in the business of providing mortgage

brokerage services . According to records maintained by the Georgia Secretary of

State, AME maintains its principal place of business at 6455 Shiloh Road, Suite D,

Alpharetta GA 30005 . AME can be served with process by serving its President,

Pefanis, at AME's stated principal place of business or by servicing AME's

Registered Agent, Ron D . Eckland, at 4036 Wetherburn Way, Norcross, Gwinnett

County, GA 30092 . AME is an employer within the meaning of Title VII .

                                          7.

      Georgia Mutual purports to be a for-profit limited liability corporation

incorporated in the State of Georgia . Georgia Mutual purports to be in the business

of providing mortgage brokerage services . According to records maintained by the
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Georgia Secretary of State, Georgia Mutual maintains its principal place of

business at 4036 Wetherburn Way, Norcross, Gwinnett County, GA 30092 .

Georgia Mutual can be served with process by serving Ron D . Eckland at Georgia

Mutual's stated principal place of business .

                                           8.

       Defendants jointly employed Forsberg beginning in July 2006 and

continuing into August 2007 - when she was constructively discharged as a result

of Defendants' outrageous sexual assault, harassment and mistreatment of her .

                                           9.

       Each of the Defendants is subject to the jurisdiction of this Court, and venue

of this action is proper in this Court .

                             FACTUAL B ACKGROUN D

                                           10 .

       As indicated above, AME and Georgia Mutual purport to be in the business

of providing various financial services - including mortgage brokerage services .

While AME and Georgia Mutual do exist, in part, to provide these services, they

also exist for an unlawful purpose . As set forth in detail below, they exists in part,

to provide their owner, Pefanis, an opportunity and platform to engage in perverse

and deviant sexual behavior against employees, including sexual harassment and

sexual assault . As set forth below, Pefanis' sexual misconduct at AME and



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Georgia Mutual is so pervasive, brazen and outrageous that the only logical

conclusion is that one of the primary business missions of AME and Georgia

Mutual (both alter egos of Pefanis) is to provide Pefanis with an outlet to engage in

his perverted sexual misconduct.

                                         11 .

      In July 2006, Defendants hired Forsberg . At the time that she was hired,

Forsberg had no idea about the sexual misconduct that Pefanis routinely engaged

in - and that was both tolerated and enabled by AME and Georgia Mutual .

                                         12.

      At the time she was hired, Forsberg held the title of "Junior Underwriter ."

She was a high performer and was promoted to an Account Executive in

November 2006.

                                         13 .

      As an Account Executive, Forsberg's performance was not just high - but

stellar. Pefanis called her while she was on vacation in late July 2007 and told her

that: ( 1) he was proud of her because she had funded over $10 million in loans

through the month ; and (2) upon her return from vacation, he wanted to discuss

promoting her again .
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                                          14.

       As a result of Forsberg's exceptionally high performance, she was in a

position to earn commission-based compensation during 2007 that would have

exceeded $100,000 . This was far more annual compensation that Forsberg had

ever earned at any point in her life .

                                          15.

       Despite her extraordinary job performance, in the workplace Forsberg was

forced to tolerate, be exposed to, be apprised of, witness and be subjected to

outrageous forms of sexual harassment and sexual assault by Pefanis . This sexual

harassment was not isolated or minor - but was a pervasive and regular part of the

day-to-day working life at AME and Georgia Mutual that was conducted by the

CEO of these companies.

                                          16.

       Simply by way of example, at various times that she was employed at the

companies, she routinely witnessed Pefanis grab and grope the genitalia and other

private body parts of other employees . As set forth in detail below, Pefanis

eventually turned his outrageous and unlawful sexual assaults toward Forsberg

herself.




                                          6
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                                          17 .

      As other examples, Pefanis routinely made unlawful sexual statements to

Forsberg, telling her things such as : (a) she had "small titties ;" (b) she should "go

get some [breast] implants, and she might make some money ;" (c) she was a

"slut ;" (d) she had a "small butt ;" (e) he didn't understand how small-framed

women were able to have sex with large men ; and (f) other similar outrageous

statements.

                                           18 .

      With respect to others in the workplace, Pefanis frequently made the same

and similar comments - except when he was referring to black individuals - when

he chose to use phrases such as "big black nigger bitch ."

                                           19.

      Pefanis' repeated and pervasive harassment of Forsberg was not limited to

sexually inappropriate statements . He also repeatedly engaged in inappropriate

sexual misconduct, including : (a) touching and attempting to touch Forsberg ; (b)

attempting to look down her shirt at her breasts ; and (c) other similar sexual

misconduct .




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                                         20.

      To state the obvious, none of Pefanis' misconduct was a surprise to either

AME or Georgia Mutual . Not only was Pefanis the owner and CEO of these two

entities - but numerous senior officers of AME and Georgia Mutual witnessed,

tolerated, laughed at, and encouraged Pefanis to engage in his perverted

misconduct. Officers of AME and Georgia Mutual also ignored Forsberg's

repeated complaints about Pefanis' misconduct .

                                         21 .

      Pefanis' misconduct was so ingrained in the workplace that it became part of

the daily fabric of working with Pefanis and the companies that he owned - and

individuals who were connected with Pefanis' mortgage empire were acutely

aware of it. Unfortunately, those with the opportunity and ability to curb this

misconduct chose to sit silently on their hands, and let employees get harassed,

assaulted and battered .

                                         22.

      Indeed, neither Pefanis, AME nor Georgia Mutual did anything to curb

Pefanis' perverted and unlawful conduct, even after employees made legal claims

relating to the conduct . Specifically, Forsberg has been informed that at least two

of the women that Pefanis sexually assaulted in the workplace made legal claims



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toward Pefanis, AME and/or Georgia Mutual -- and that these two women were

paid substantial compensation by Pefanis and/or AME that was, in part, designed

to keep them quiet about Pefanis' sexual misconduct and AME's condoning and

ratifying his conduct. This "hush money" was designed to ensure that these

women kept quiet about Pefanis' conduct and helped ensure that Pefanis would be

permitted to continue his sexual misconduct unabated for years to come .

                                         23 .

      Defendants' negligent and intentional decision to simply pay hush money to

women who complained about Pefanis - rather than to adequately investigate and

respond to the complaints - caused continuing sexual harassment, assaults, battery

and other unlawful conduct which damaged Forsberg and others in the workplace .

                                         24 .

      On August 16, 2007, as a direct result of the negligence and intentional

conduct of the Defendants, Forsberg was again victimized by Defendants when

Pefanis and others engaged in the sexual assault and battery described below and

thereby constructively discharged Forsberg .

                                         25.

      On that date, Forsberg was in the AME/Georgia Mutual offices checking on

file status and for a short sales meeting . Pefanis was in the office where Forsberg

was standing, and as was his practice was making inappropriate comments about a


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male employee who had impregnated his wife . Pefanis then pulled another AME

employee into the office - and referring to another employee in the office, David

Popke ("Popke"), made a variety of sexually inappropriate statements about him .

Among other things, Pefanis physically turned Popke around and, directing

attention to Popke's pants, stated to Forsberg and others that Popke was "wearing

tight jeans and all his shit is showing ."

                                             26 .

       Pefanis then turned his conduct and comments toward Forsberg . He turned

to her, while she was standing in an enclosed area between a filing rack and a desk,

and approached her from behind. Recognizing that she was essentially in a corner,

Pefanis trapped Forsberg and prevented her from moving by grabbing her around

her waist and tightly holding on to her . He then took one of his hands that was

then around her waist, and slid it down from Forsberg's waist to her vagina . While

still holding Forsberg tightly and preventing her from moving, Pefanis grabbed her

vagina, felt it and tightly held onto it . He held onto and felt her vagina for several

seconds - despite Forsberg's struggle to get away from the sexual assault . While

feeling and holding Forsberg's vagina, Pefanis then began to make comments

about the size of her vagina - proclaiming it to be really tiny.




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                                                27 .

        Forsberg informed Pefanis in no uncertain terms that his conduct was

unwanted and outrageous - and told him not to ever touch her again . Undeterred,

however, a few moments later, Pefanis told Vice President Bob Brown ("Brown")

about his sexual battering of Forsberg - and he encouraged Brown to do the same.

Specifically, Pefanis told Brown that he had "just felt her [Forsberg's] shit and you

should feel it - it's really, really small ."

                                                28 .

        After this and similar comments, Forsberg informed Pefanis that he was

"sick and nuts" and left the office . She appropriately concluded that she could no

longer work for the Defendants -- as the conduct amounted to a constructive and

illegal termination of her employment -- and she sent an e-mail confirming this

fact.

                                                29 .

        After committing sexual battery on Forsberg, Pefanis began speaking by

phone with numerous individuals in an obvious effort to downplay his conduct .

These conversations and comments made by Pefanis such as "I didn't do it in front

of everyone" only served as further admissions of Pefanis' conduct .




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                                          30.

      Plaintiff has understandably suffered damages, including physical impact

damages, pecuniary damages (including loss of wages and other special damages)

and extreme emotional distress as Defendants intended for her to do .

        SATISFACTION OF ADMINISTRATIVE PREREQUISITES

                                          31 .

      On October 18, 2007, Forsberg filed a Charge of Discrimination against

AME and Georgia Mutual alleging unlawful sexual harassment and discrimination .

                                          32.

      On December 14, 2007, the EEOC issued a right to sue letter to Forsberg .

This lawsuit is filed within 90 days of the date Plaintiff received that Notice of

Right to Sue.

                                          33 .

       All administrative prerequisites for filing a Title VII claim against the

employer Defendants have been fully satisfied by Forsberg .




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                                       CLAIMS

                                    COUNT ONE

      (Unlawful Sexual Harassment And Discrimination Under Title VII)

                                          34.

       Plaintiff repeats and incorporates by reference all of the allegations set forth

in paragraphs 1 through 33 above as if set forth fully herein .

                                          35 .

      Under Title VII it is unlawful for an employer to discriminate against any

individual with respect to his or her compensation, terms, conditions or privileges

of employment because of such individual's sex .

                                          36 .

      AME and Georgia Mutual separately and jointly discriminated against

Plaintiff because of her sex through sexual harassment (both hostile environment

and tangible job action sexual harassment), and the tangible job actions and

adverse employment actions taken against her .

                                          37.

      As a result of the unlawful conduct of the violations of Title VIPs

prohibition against sex discrimination, Plaintiff has suffered losses, including but




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not limited to, the loss of employment, substantial loss of pay and benefits, and

loss of reputation and emotional distress .

                                          38 .

      Plaintiff is entitled to a declaratory judgment that the actions of AME and

Georgia Mutual violated Title VII and is entitled to other remedies, including, but

not limited to, back pay and benefits, front pay and benefits, compensatory

damages, punitive damages, interest, attorneys' fees and costs .

                                   COUNT TWO

                    (Torts Of Negligent Hiring and Retention)

                                          39.

      Plaintiff repeats and incorporates by reference all of the allegations set forth

in paragraphs 1 through 38 above as if set forth fully herein .

                                          40.

      AME and Georgia Mutual negligently hired and/or retained Pefanis and

other employees of AME and Georgia Mutual with knowledge of their practices of

sexual harassment, assault and battery . In this regard, Defendants AME and

Georgia Mutual breached their duty to exercise ordinary care not to hire or retain

an employee they knew or should have known posed a risk of harm to others where

it was reasonably foreseeable from the tendencies, propensities, and/or actions of




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the individual hired and/or retained that he could cause harm to Plaintiff and/or

others at AME and Georgia Mutual .

                                           41 .

      Plaintiff has suffered damages from Defendants' tortious conduct, including

economic, pecuniary and emotional distress damages . Plaintiff's emotional

distress has caused physical manifestations .

                                    COUNT THREE

                                  (Assault and Battery)

                                           42.

      Plaintiff repeats and incorporates by reference all of the allegations set forth

in paragraphs 1 through 41 above as if set forth fully herein .

                                           43 .

      Defendant Pefanis engaged in assault and battery of Plaintiff . These torts

were committed in the scope of Pefanis' employment with AME and in the

furtherance of the Defendant's business which, as described above, was set up for

the express purpose of providing Pefanis a platform and outlet for his sexually

perverted conduct .

                                          44.

      The actions of Pefanis caused Plaintiff to reasonably apprehend a violent

injury from the unlawful acts .



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                                          45 .

      Pefanis touched Plaintiff in a harmful and offensive manner to cause her

physical harm and to cause her to suffer insulting or provoking contact .

                                          46 .

      Defendants AME and Georgia Mutual are liable to Plaintiff for the assault

and battery committed by Pefanis .

                                          47 .

      Plaintiff has suffered damages from Defendants' tortious conduct, including

economic, pecuniary and emotional distress damages . Plaintiff's emotional

distress has caused physical manifestations .

                                   COUNT FOUR

                     (False Arrest And False Imprisonment)

                                          48.

      Plaintiff repeats and incorporates by reference all of the allegations set forth

in paragraphs 1 through 47 above as if set forth fully herein .

                                          49.

      During the sexual assault of Plaintiff, Plaintiff was restrained against her

will by Pefanis by both force and fear and was thereby required to submit to the

sexual assault and sexual battery that was committed against her .




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                                          50.

      Pefanis' false arrest and false imprisonment of Plaintiff was extreme and

outrageous and was intended to and did cause Plaintiff to suffer severe emotional

distress. Plaintiff's emotional distress has caused physical manifestations . The

outrageous conduct was committed in the course and scope employment with

AME and Georgia Mutual and in the furtherance of the business of the Defendants .

                                          51 .

      Defendants AME and Georgia Mutual are liable to Plaintiff for the false

arrest and false imprisonment committed by Pefanis .

                                          52 .

      Plaintiff has suffered damages from Defendants' tortious conduct, including

economic, pecuniary and emotional distress damages . Plaintiff's emotional

distress has caused physical manifestations .

                                   COUNT FIVE

                                (Invasion of Privacy)

                                          53 .

      Plaintiff repeats and incorporates by reference all of the allegations set forth

in paragraphs 1 through 52 above as if set forth fully herein .




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                                          54.

      Defendant Pefanis repeatedly intruded upon Plaintiffs seclusion and solitude,

and into her private affairs . This conduct was committed in the course and scope

of employment with AME and Georgia Mutual and in the furtherance of the

business of the Defendants.

                                          55.

      Plaintiff has suffered damages from Defendants' tortious conduct, including

economic, pecuniary and emotional distress damages . Plaintiff's emotional

distress has caused physical manifestations .

                                    COUNT SIX

                        (Violations of O .C.G.A. § 34-2-10)

                                          56.

      Plaintiff repeats and incorporates by reference all of the allegations set forth

in paragraphs 1 through 27 above as if set forth fully herein .

                                          57 .

      O.C.G.A. § 34-2-10 provides :

      Every employer shall furnish employment which shall be reasonably
      safe for the employees therein, shall furnish and use safety devises
      and safeguards, shall adopt and use methods and processes reasonably
      adequate to render such an employment and place of employment
      safe, and shall do every other thing reasonably necessary to protect
      life, health, safety, and welfare of such employees .


                                          18
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                                          58 .

      Defendants' actions summarized and set forth herein violated of O .C.G.A. §

34-2-10 . Plaintiff was placed in fear for her physical safety because of the actions

and inactions of the Defendants .

                                          59.

      Plaintiff has suffered damages from Defendants' tortious conduct, including

economic, pecuniary and emotional distress damages . Plaintiffs' emotional distress

has caused physical manifestations .

                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs respectfully prays :

      A . That a declaratory judgment be issued declaring that the actions of

             AME and Georgia Mutual violated Title VII and that Plaintiff be

             awarded injunctive relief under Title VII ;

      B . That judgment be entered in favor of Plaintiff and jointly and

             severally against AME and Georgia Mutual awarding Plaintiff all

             remedies available under Title VII, including but limited to, front pay

             and benefits, back pay and benefits, compensatory damages, punitive

             damages, interest, fees, and costs ;




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      C . That Plaintiff be awarded her costs and attorneys fees for all costs and

            fees incurred in connection with this matter ;

      D. That Plaintiff be awarded judgment of compensatory and punitive

            damages on her claims under Georgia law ;

      E. That Plaintiff be awarded such other and further relief that the Court

            deems just and equitable ;

      F. That the Court retain jurisdiction over Defendants until such time as it

            is satisfied that they have fully remedied the practices complainedd of

            and are determined to be in full compliance with the law and that all

            amounts awarded are paid to Plaintiff by Defendants .

      PLAINTI FF DEMANDS A TRIAL BY JURY IN THIS ACTION



            This 17th day of December, 2007 .


                                         Respectfully submitted,




                                         Thomas J . Munger
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